             Case 2:12-cv-01243-ES-SCM Document 58 Filed 03/19/13 Page 1 of 2 PageID: 3952

                                                                  C O N N E L L F O L E Y LLP
 J OHN A. P INDAR (1969)          ANGELA A. I USO *                                                                                           C OUNSEL
 G EORGE W. C ONNELL (2005)       W ILLIAM T. M CG LOIN *
                                                                         ATTORNEYS AT LAW                                 J OHN W. B ISSELL               KARIN I. SPALDING *
 ADRIAN M. F OLEY, J R .          B RENDAN J UDGE                                                                         E UGENE J. C ODEY, J R .        J ODI ANNE H UDSON *
 G EORGE J. K ENNY *              STEPHEN A. U RBAN                        85 LIVINGSTON AVENUE                           F RANCIS J. ORLANDO             R ICHARD A. JAGEN
 KENNETH F. K UNZMAN              C HARLES J. H ARRINGTON III+            ROSELAND, NJ 07068-3702                         F RANCIS E. S CHILLER *         JASON E. M ARX*
 SAMUEL D. LORD (2012)            STEPHEN V. FALANGA *                                                                    E UGENE P. S QUEO *             ALEXIS E. L AZZARA
 R ICHARD D. C ATENACCI           TRICIA O’R EILLY *                           (973) 535-0500                             B RIAN P. M ORRISSEY-           GAIL G OLDFARB
 R ICHARD J. BADOLATO *           ANTHONY F. V ITIELLO * +                  FAX: (973) 535-9217                           N OEL D. H UMPHREYS *           THOMAS V ECCHIO +
 P ETER D. M ANAHAN               M ARC D. H AEFNER                                                                       ANTHONY ROMANO II*              DANIEL B. K ESSLER *
 J OHN B. M URRAY                 J ONATHAN P. M CH ENRY                          O THER O FFICES
 M ARK L. F LEDER                 B RAD D. SHALIT *                                                                                            ———
 KEVIN J. C OAKLEY                M. TREVOR LYONS *              H ARBORSIDE F INANCIAL       888 S EVENTH AVENUE         D OUGLAS J. SHORT *             M EGHAN K. M USSO *
 THOMAS S. C OSMA                 CRAIG S. D EMARESKI *                    C ENTER                   9 T H F LOOR         JAMES M. M ERENDINO             B RENDAN W. C ARROLL *
 KATHLEEN S. M URPHY              W. N EVINS M CC ANN *               2510 P LAZA F IVE       N EW YORK , NY 10106        M ICHELE T. TANTALLA *          E LEONORE O FOSU -A NTWI *
 PATRICK J. M CAULEY              THOMAS J. O’L EARY *           J ERSEY C ITY, NJ 07311          (212) 307-3700          H ECTOR D. RUIZ *               E DMUND J. C AULFIELD *
 P ETER J. P IZZI * +             M ITCHELL W. TARASCHI                (201) 521-1000          F AX : (212) 262-0050      ROBERT A. V ERDIBELLO *         SYDNEY J. DARLING *
 KEVIN R. GARDNER                 M ICHAEL A. SHADIACK              F AX : (201) 521-0100                                 P HILIP W. A LLOGRAMENTO III*   J ESSICA L. PALMER *
 ROBERT E. RYAN                   OWEN C. M CC ARTHY *                                                                    STEPHEN D. K ESSLER             N EIL V. SHAH *
 M ICHAEL X. M CB RIDE *          PATRICIA A. L EE *+              1500 M ARKET S TREET            L IBERTY V IEW         CHRISTOPHER ABATEMARCO *        STEPHEN R. TURANO *
 J EFFREY W. M ORYAN *            AGNIESZKA ANTONIAN *                  12 TH F LOOR ,           457 H ADDONFIELD         ANTHONY J. C ORINO *            STEVEN A. KROLL *
 E DWARD S. WARDELL               CHRISTOPHER J. TUCCI+                 E AST T OWER              ROAD, S UITE 230        INGRID E. DA C OSTA             ROBERT M. D I P ISA *
 P ETER J. S MITH *               N EIL V. M ODY *               P HILADELPHIA , PA 19102     C H ERRY H ILL , NJ 08002   M EGHAN BARRETT B URKE *        M ATTHEW A. BAKER +
 W ILLIAM P. KRAUSS               STEVE BARNETT *                      (215) 246-3403              (856) 317-7100         RUKHSANAH L. SINGH *            M ICHAEL J. CREEGAN *
 B RIAN G. S TELLER               THOMAS M. S CUDERI *              F AX : (215) 665-5727       F AX : (856) 317-7117     B RITTANY E. M IANO *           THOMAS M. B LEWITT, J R .+
 P HILIP F. M CG OVERN, J R .     J OSEPH M. M URPHY *                                                                    STACIE L. P OWERS *             B RIAN S. WOLFSON
 KAREN PAINTER R ANDALL           NANCY A. SKIDMORE *                           T H E ATRIUM , S UITE E                   N ICOLE B. D ORY *              M ARY F. H URLEY
 L IZA M. WALSH                   C HRISTINE S. ORLANDO                          309 M ORRIS AVENUE                       M ICHAEL B OJBASA -             DANIELLE M. N OVAK +
 J OHN P. L ACEY *                J ENNIFER C. CRITCHLEY *                     S PRING L AKE , NJ 07762                   C HRISTOPHER M. H EMRICK *      KATELYN O’R EILLY
 M ICHAEL J. C ROWLEY-            PATRICK S. B RANNIGAN *                            (732) 449-1440                       SUSAN KWIATKOWSKI *             JAMES E . F IGLIOZZI-
 TIMOTHY E. C ORRISTON *          C HRISTINE I. GANNON *                          F AX : (732)449-0934                    M ELISSA D. LOPEZ               M ATTHEW D. F IELDING *
 PATRICK J. H UGHES * +           ANDREW C. S AYLES *                                                                     ANDREW L. BARON *               M ELISSA L. H IRSCH +
 JAMES C. M CC ANN *              W ILLIAM D. D EVEAU *                                                                   JASON D. FALK *                 M ARIEL L. B ELANGER *
 J OHN D. CROMIE                                                                                                          M ICHAEL J. SHORTT +            N ICHOLAS W. U RCIUOLI
                  *A LSO A DMITTED IN N EW YORK                                                                           V ICTORIA N . M ANOUSHAGIAN *   KERRY C. D ONOVAN
                                                                                                                          PATRICK J. M URPHY, III*        G ENEVIEVE L. H ORVATH
                +A LSO A DMITTED IN P ENNSYLVANIA
                  -O NLY A DMITTED IN N EW YORK
               P LEASE R EPLY TO ROSELAND, NJ




                                                                                            March 19, 2013

           VIA ECF AND FIRST-CLASS MAIL
           Honorable Esther Salas, U.S.D.J.
           United States District Court for the District of New Jersey
           Martin Luther King Jr. Bldg. & U.S. Courthouse
           50 Walnut Street
           Newark, New Jersey 07101

                        Re:          Nautilus Neurosciences, Inc., et al. v. Wockhardt USA LLC, et al.
                                     Civil Action No. 2:11-cv-1997 (ES/SCM)
                                     Civil Action No. 2:12-cv-1243 (ES/SCM)_____________________


           Dear Judge Salas:

                  This firm, together with Willkie Farr & Gallagher LLP, represents Plaintiffs Nautilus
           Neurosciences, Inc. and APR Applied Pharma Research SA (collectively, “Plaintiffs”) in
           connection with the above referenced matters. We write to respectfully request a conference call
           with Your Honor to discuss the scheduling of a trial in this matter.

                   As Your Honor is aware, the parties are presently engaged in expert discovery, which is
           scheduled to close on April 22, 2013. (Dkt. No. 95). The current scheduling Order provides that
           the deadlines for the submission of a proposed Final Pretrial Order, Motions in Limine, and Pretrial
           Briefs and the Trial Start Date are yet to be determined. The expiration of the 30-month statutory
           stay relating to this Hatch-Waxman litigation will take place later this year, on September 1, 2013.
           As Your Honor is aware, subject to Your Honor’s calendar, completion of a trial prior to the



2874778-01
             Case 2:12-cv-01243-ES-SCM Document 58 Filed 03/19/13 Page 2 of 2 PageID: 3953

         Honorable Esther Salas, U.S.D.J.
         March 19, 2013
         Page 2


         expiration of the statutory stay could obviate the need for any emergent, preliminary injunction
         proceedings in this matter.

                For that reason, and in consideration of the upcoming close of expert discovery, Plaintiffs
         respectfully request a conference call with Your Honor to discuss the scheduling of pretrial
         submissions and conferences as well as the trial, at the Court’s convenience and subject to Your
         Honor’s calendar. We presently have a status conference call scheduled before Judge Mannion on
         April 17, 2013 and will be happy to discuss these scheduling issues with His Honor, as well.

                  As always, we appreciate the Court’s attention to this matter.

                                                               Respectfully submitted,

                                                               s/Liza M. Walsh

                                                               Liza M. Walsh



         cc:      Honorable Steven C. Mannion, U.S.M.J. (via ECF and First-Class Mail)
                  All Counsel of Record (via ECF and email)




2874778-01
